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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                         )
 GRACE, et al.                           )
                                         )
               Plaintiffs,               )
                                         )
 v.                                      )    Civil Action No. 1:18-cv-01853-EGS
                                         )
 MATTHEW G. WHITAKER, in his             )
 Official capacity as Acting Attorney    )
 General of the United States, et al.,   )
                                         )
               Defendants.               )
                                         )

                              DEFENDANTS’ STATUS UPDATE

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Dated: January 11, 2019                      Attorneys for Defendants
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                              DEFENDANTS’ STATUS UPDATE

         Defendants respectfully submit this status update, consistent with the Court’s order that

Defendants “file a further status report by no later than January 11, 2019.” January 4, 2019 Minute

Order.

         Since the January 4, 2019, update, counsel for Defendants have continued to confer with

counsel for Plaintiffs by phone and email to work out the logistics of returning the removed

Plaintiffs to the United States. The Department of Homeland Security (“DHS”) has informed

counsel from the Department of Justice (“DOJ”) that officers for Immigration and Customs

Enforcement (“ICE”) have worked with the points of contact provided for each removed Plaintiff

and have communicated the requirements for their return. DHS has informed DOJ that ICE

officers have also reached out to the governments of El Salvador and Honduras to determine the

legal requirements with which Plaintiffs must comply to depart those countries. DHS has informed

DOJ that ICE officers have informed Plaintiffs’ counsel that both countries require that those

seeking to depart present a passport. DHS has informed DOJ that three of the removed Plaintiffs

(one from El Salvador and the family unit from Honduras) do not currently have the proper

passport document. DHS has informed DOJ that both countries also require permission from both

parents for a child to travel outside the country. DHS has informed DOJ that the family unit in El

Salvador meets an exception to the requirement, but that the family unit from Honduras must

comply with the requirement. DHS has informed DOJ that ICE officers continue to work with the

points of contact and the governments of El Salvador and Honduras to facilitate Plaintiffs’

obtaining the documents their countries require in order for them to travel. DHS has informed

DOJ that three of the removed Plaintiffs appear to have the documents necessary to depart, and

that Defendants are prepared to schedule their return.
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       The parties have been unable to come to an agreement as to the process that should be

applied to the Plaintiffs once they are returned to U.S. soil. The Court’s order directs

               defendants to bring back into the United States, at no expense to
               plaintiffs, any plaintiff who has been removed pursuant to an
               expedited removal order prior to this Order and parole them into the
               United States, and provide each of them a new credible fear process
               consistent with the Court’s Memorandum Opinion and free from the
               unlawful policies enumerated in paragraphs 1.a. through 1.f. above
               or, in the alternative, full immigration court removal proceedings
               pursuant to 8 U.S.C. § 1229a.

ECF No. 105 at 3-4. This language requires that the removed Plaintiffs be allowed to reenter the

country and then be provided a new credible fear process. Section 1225(b), the only provision that

provides for a credible fear process, contemplates that those subject to expedited removal are

detained until they are removed or until they are granted asylum. Under 8 C.F.R. § 235.3(b)(4)(ii),

“[p]ending the credible fear determination by an asylum officer and any review of that

determination by an immigration judge, the alien shall be detained.” This follows from the

statute’s requirement that an applicant found to have a credible fear “shall be detained” while the

asylum application is pending before an immigration judge. 8 U.S.C. § 1225(b)(1)(B)(ii). If

Plaintiffs establish a credible fear, they will be considered for release from detention under

governing law and policy. See ICE Directive 11002.1, Parole of Arriving Aliens Found to Have a

Credible Fear of Persecution or Torture (Dec. 8, 2009); Matter of X-K-, 23 I. & N. Dec. 731 (BIA

2005). Defendants think the Court’s order to provide Plaintiffs with new credible fear interviews

envisions utilizing the status quo credible fear screening and detention regime (to be conducted

without regard to the enjoined aspects of Matter of A-B- and the Policy Memo), and does not

require a unique process whereby Plaintiffs would be released prior to the conduct of a credible

fear screening other than in accordance with the established procedures for release from custody.

Defendants’ counsel have been negotiating with Plaintiffs’ counsel regarding a time frame for



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completing credible fear processing, in order to ensure that those Plaintiffs who establish a credible

fear will have an opportunity to be promptly considered for release from custody consistent with

8 U.S.C. § 1225(b).

        Defendants’ counsel continue to work with Plaintiffs’ counsel to facilitate return and will

provide an additional status update to the Court regarding those efforts by Friday, January 18,

2019.

                                                      Respectfully submitted,

                                                      JOSEPH H. HUNT
                                                      Assistant Attorney General

                                                      WILLIAM C. PEACHEY
                                                      Director

                                                      EREZ REUVENI
                                                      Assistant Director

                                               By:    /s/ Christina P. Greer
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Dated: January 11, 2019                               Attorneys for Defendants




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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 11, 2019, I electronically filed the foregoing document

with the Clerk of the Court for the United States District Court for the District of Columbia by

using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.


                                            By:    /s/ Christina P. Greer
                                                   CHRISTINA P. GREER
                                                   Trial Attorney
                                                   United States Department of Justice
                                                   Civil Division
